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                                     DEFENDANTS’ WITNESS LIST

   1. Joseph Gentile, Jr. 123 North Sea Road, Unit 516 Southampton, NY 11968.

   2. Joseph Supor III-583 Princeton Avenue, Brick, NJ 08724.

   3. Linda Supor-583 Princeton Avenue, Brick, NJ 08724.

   4. Todd Bright-451 Broad Street, Apt 2, Carlstadt, NJ 07072.

   5. Juliann Supor-67 Jefferson Avenue, Lodi, NJ 07644.

   6. Louis Pontoriero-18 Tall Oaks Drive Monroe Township, NJ 08831.

   7. Kevin Cassidy-312 Saw Mill Lane, Wyckoff, NJ 07481.

   8. Any witnesses needed to authenticate documents to be produced at trial.

   9. Any witnesses listed or called by any other party.

   10. Any expert needed to address, respond to, or rebut any expert opinion, report or other

      testimony produced, discovered or offered at trial by any other party.

   11. Any person needed to rebut or impeach the testimony of any person called as a witness

      at trial.



                                                    JDE Law Firm, PLLC

                                                    Attorneys for Defendants

                                                    _________________________________

                                                           Jesse David Eisenberg, Esq.

Dated: May 10, 2024
